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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 RICHARD COOEY, et al.,

             Plaintiffs,
                                            Case No. 2:04-cv-1156
       v.                                   JUDGE GREGORY L. FROST
                                            Magistrate Judge Mark R. Abel
 TED STRICKLAND, et al.,

             Defendants.

 BRETT HARTMAN,

             Plaintiff,
                                            Case No. 2:09-cv-242
       v.                                   JUDGE GREGORY L. FROST
                                            Magistrate Judge E.A. Preston Deavers
 TED STRICKLAND, et al.,

             Defendants.

 ROMELL BROOM,

             Plaintiff,
                                            Case No. 2:09-cv-823
       v.                                   JUDGE GREGORY L. FROST
                                            Magistrate Judge Mark R. Abel
 TED STRICKLAND, et al.,

             Defendants.

 LAWRENCE REYNOLDS,

             Plaintiff,
                                            Case No. 2:10-cv-27
       v.                                   JUDGE GREGORY L. FROST
                                            Magistrate Judge Mark R. Abel
 TED STRICKLAND, et al.,

             Defendants.
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                                     OPINION AND ORDER

         This matter is before the Court for consideration of a motion to dismiss (Doc. # 815) filed

 by Defendants, a memorandum in opposition (Doc. # 819) filed by Plaintiff Kenneth Smith, and

 a reply memorandum (Doc. # 837) filed by Defendants. Based on the reasoning set forth in this

 Court’s August 12, 2010 Opinion and Order regarding Plaintiff Jerome Henderson (Doc. # 801),

 which the Court incorporates herein by reference, this Court finds the motion well taken in

 regard to Claims One and Two, but not well taken in regard to Claims Three and Four.

         In regard to the former conclusion, the Court notes that, while disagreeing with this

 Court’s rationale and preserving the issues for appeal, Smith concedes in his briefing that Claims

 One and Two fail based upon the Court’s earlier decisions.1 (Doc. # 819, at 3 n.1.) The Court

 reaches the latter conclusion despite the fact that Defendants have now asserted in regard to

 Claims Three and Four arguments either not previously, not consistently, or not as fully raised in

 regard to other plaintiffs.

         For example, Defendants argue that Smith has failed to allege a specific injury in

 connection with Claim Three, the right to counsel and access to the courts claim, given that

 “Smith has not alleged that [D]efendants’ actions would preclude him from presenting a specific



         1
           The Court notes that Smith’s characterization of this Court’s prior reasoning and
 decisions is hyperbolic. Smith states in his briefing that “[t]he Court’s interpretation of [Cooey
 (Biros) v. Strickland, 589 F.3d 210 (6th Cir. 2009),] essentially mandates that an inmate in Ohio
 can never prevail on a Baze claim; the Baze Court did not preclude all method-of-execution
 challenges, however, and thus Biros cannot be compatible with Baze.” (Doc. # 819, at 3 n.1.)
 This is largely incorrect. Biros stands for the proposition that the specific Claim One and Claim
 Two challenges, predicated on the specific factual allegations involved here, means inmates such
 as Biros and Smith cannot prevail on these challenges. Similar claims based on different or
 additional facts of course could present method-of-execution challenges on which Ohio inmates
 could prevail under both the overarching Baze and the specific Biros.

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 claim for relief to the courts.” (Doc. # 815, at 4.) Because the cruel and unusual punishment

 component of Smith’s case fails, Defendants reason, Smith cannot show an Eighth Amendment

 injury that would serve as the potentially precluded claim upon which the right to counsel claim

 depends. This argument overlooks the core of Smith’s pleading.

         The point of Smith’s third claim is that should events occur during his execution that

 present an Eighth Amendment claim–events such as those found in the attempted execution of

 Romell Broom–a denial of access to counsel would prevent him from bringing that new Eighth

 Amendment claim to the Court. Defendants’ reliance on their procedures therefore fails to shield

 them from future claims arising from new deviation from those procedures, which means that the

 right to counsel and access to the courts component of Smith’s case survives.

         Defendants also argue that dismissal of Claim Four is warranted because Smith does not

 assert that their alleged deviations from the protocol are so irrational so as to fail the rational

 basis test. As Smith details in his briefing, this argument is simply inconsistent with any fair

 reading of his Complaint. (Doc. # 819, at 10.) The Court has noted in regard to other plaintiff’s

 similar pleadings that the Equal Protection claim pled inherently questions the rationality of the

 state action involved.

         The crux of this fourth claim is that Defendants ignore their own policies “arbitrarily,”

 “irrationally,” “intentionally,” “recklessly,” and “without legitimate justification.” (Doc. # 800

 ¶¶ 169-82.) Counter to Defendants’ reading of the pleading, such allegations “aver that

 [D]efendants’ alleged deviations from the written protocol are so irrational that there is no

 conceivable basis for such deviations.” (Doc. # 815, at 4-5.) Plaintiff has therefore presented a

 plausible claim sufficient to withstand the motion to dismiss.


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       The Court GRANTS IN PART and DENIES IN PART Defendants’ motion to dismiss

 (Doc. # 815). The Court dismisses Claims One and Two. Claims Three and Four remain

 pending.

       IT IS SO ORDERED.

                                                  /s/ Gregory L. Frost
                                                 GREGORY L. FROST
                                                 UNITED STATES DISTRICT JUDGE




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